   Case 2:23-cv-00701-MEMF-JC          Document 22       Filed 08/20/24       Page 1 of 1 Page ID
                                            #:164
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                                                                                            JS-6
                             CIVIL MINUTES -REOPENING/CLOSING

Case No. 2:23-cv-00701-MEMF (JCx)                                Date August 20, 2024

Title: Liparit Karapetyan v. Kia America, Inc.

Present: The Honorable Maame Ewusi-Mensah Frimpong




                 Damon Berry                                             N/A
                Deputy Clerk                                    Court Reporter / Recorder


Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
N/A                                                N/A




Proceedings:    G In Court          ✘ In Chambers
                                    G                    G Counsel Notified

G Case previously closed in error. Make JS-5.

✘ Case should have been closed on entry dated 08/12/2024 ECF No. 21 .
G

G Case settled but may be reopened if settlement is not consummated within                    days.
  Make JS-6.

G Other

G Entered                                  .




                                                                 Initials of Preparer       DBE




CV-74 (10/08)                       CIVIL MINUTES -REOPENING/CLOSING
